
43 So.3d 959 (2010)
Ernesto CRUZ, Appellant,
v.
DEPARTMENT OF REVENUE o/b/o Karen M. MEJIA, Appellee.
No. 3D09-3031.
District Court of Appeal of Florida, Third District.
October 6, 2010.
Ernesto Cruz, in proper person.
Bill McCollum, Attorney General, and Toni C. Bernstein, Tallahassee, Senior Assistant Attorney General, for appellee.
Before SHEPHERD, CORTIÑAS, and ROTHENBERG, JJ.

CONFESSION OF ERROR
PER CURIAM.
Upon the appellee's proper confession of error, we hereby vacate the Final Order of Paternity and Administrative Support, and remand for further proceedings.
Order vacated.
